                                           UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF NEW MEXICO

              In re: WINKLE, FRED VAN                                                           § Case No. 13-11743
                                                                                                §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on May 21, 2013. The undersigned trustee was appointed on May 21, 2013.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $                18,018.00

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                                 0.00
                                    Administrative expenses                                            2,373.95
                                    Bank service fees                                                     53.90
                                    Other payments to creditors                                            0.00
                                    Non-estate funds paid to 3rd Parties                                   0.00
                                    Exemptions paid to the debtor                                          0.00
                                    Other payments to the debtor                                           0.00
                             Leaving a balance on hand of 1                         $                15,590.15
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

      UST Form 101-7-TFR (05/1/2011)


       Case 13-11743-t7               Doc 60         Filed 03/13/15           Entered 03/13/15 12:50:39 Page 1 of 8
               6. The deadline for filing non-governmental claims in this case was 09/21/2013
       and the deadline for filing governmental claims was 11/17/2013. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $2,551.80. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $0.00 as interim compensation and now requests the
       sum of $2,551.80, for a total compensation of $2,551.80. 2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $318.37, for total expenses of
               2
       $318.37.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 01/27/2015                    By: /s/Clarke C. Coll
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

       UST Form 101-7-TFR (05/1/2011)


        Case 13-11743-t7               Doc 60        Filed 03/13/15            Entered 03/13/15 12:50:39 Page 2 of 8
                                                                                                                                                                       Exhibit A


                                                                                     Form 1                                                                            Page: 1

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 13-11743                                                                        Trustee:         (510150)    Clarke C. Coll
Case Name:          WINKLE, FRED VAN                                                         Filed (f) or Converted (c): 05/21/13 (f)
                                                                                             §341(a) Meeting Date:        06/18/13
Period Ending: 01/27/15                                                                      Claims Bar Date:             09/21/13

                                1                                            2                           3                     4               5                   6

                    Asset Description                                  Petition/               Estimated Net Value         Property        Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled          (Value Determined By Trustee,   Abandoned        Received by     Administered (FA)/
                                                                        Values               Less Liens, Exemptions,      OA=§554(a)        the Estate      Gross Value of
Ref. #                                                                                           and Other Costs)                                          Remaining Assets

 1       Condominium - value based on current listing pri (See             119,000.00                            0.00                               0.00                   FA
         Footnote)

 2       7.1060 acres of land on a permanent foundation a                  300,000.00                     14,670.77                                 0.00                   FA
         (See Footnote)

 3       1/2 interest 311.3 acres of farmland (292.9 acre (See              23,347.50                     23,347.50                            12,500.00                   FA
         Footnote)

 4       30 acres of grazing land/horse property with two (See             230,000.00                    200,000.00                                 0.00                   FA
         Footnote)

 5       Oil and Gas Lease (receives $146.47 annually) -,                        500.00                       500.00                                0.00                   FA
         (See Footnote)

 6       Checking account First National Bank of Ruidoso                         268.45                          0.00                               0.00                   FA

 7       Furniture, appliances and electronics                                3,000.00                           0.00                               0.00                   FA

 8       Clothing                                                                500.00                          0.00                               0.00                   FA

 9       Watch and misc. jewelry                                              2,500.00                           0.00                               0.00                   FA

10       Potential legal malpractice suit against Attorne (See               Unknown                             0.00                               0.00                   FA
         Footnote)

11       Claim of 1/3 of $26,176.89. Corporate unclaimed (See                 8,638.37                       8,638.37                               0.00                   FA
         Footnote)

12       2012 Honda CVR - titled in debtor's name and Eli                          0.00                          0.00                               0.00                   FA

13       2002 Ford Expedition                                                 3,900.00                           0.00                               0.00                   FA

14       CRP payments received post-petition (u)                                   0.00                      5,000.00                           5,518.00                   FA
          Debtor was receiving CRP payments from County
         FSA program and the Trustee demanded turnover of
         the post-petition payments. The Personal
         Representative of debtor's estate turned over the
         payments received to Trustee upon demand.

 14      Assets      Totals (Excluding unknown values)                     $691,654.32                  $252,156.64                           $18,018.00                $0.00


      RE PROP# 1        Trustee has examined the record and cannot avoid the judgment lien. Judgment lien attaches to
                       property 1,2 & 4. No equity available for estate.
      RE PROP# 2        Judgment lien attaches to property 1,2 & 4
      RE PROP# 3        This is an undivided interest in Farmland that is currently in CRP. Dry land farm -311.2
                       acres-value approx $150 per acre. Debtors max value approximately $23340. Trustee received offer

                     Case 13-11743-t7                     Doc 60              Filed 03/13/15                 Entered 03/13/15 12:50:39       Page10:38
                                                                                                                                Printed: 01/27/2015 3 of
                                                                                                                                                       AM 8 V.13.21
                                                                                                                                                                               Exhibit A


                                                                                   Form 1                                                                                      Page: 2

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 13-11743                                                                        Trustee:          (510150)     Clarke C. Coll
Case Name:        WINKLE, FRED VAN                                                           Filed (f) or Converted (c): 05/21/13 (f)
                                                                                             §341(a) Meeting Date:          06/18/13
Period Ending: 01/27/15                                                                      Claims Bar Date:               09/21/13

                              1                                             2                             3                      4                   5                     6

                    Asset Description                                  Petition/              Estimated Net Value            Property           Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled         (Value Determined By Trustee,      Abandoned           Received by       Administered (FA)/
                                                                        Values              Less Liens, Exemptions,         OA=§554(a)           the Estate        Gross Value of
Ref. #                                                                                          and Other Costs)                                                  Remaining Assets

                      from Debtor's Daughter to purchase "as is, where is" with no warranty of title. Trustee will accept
                       offer subject to court approval to sell since the estate will have no costs associated with sale.
     RE PROP# 4        Judgment lien attaches to property 1,2 & 4
     RE PROP# 5        Trustee sent information to O & G broker and Landman and was advised that the interest is small and
                      has little value. Cost associated with transfer would exceed benefit to estate
     RE PROP# 10       Trustee beleives claim has no value
     RE PROP# 11       Trustee investigated claimed asset and upon review and examination, the asset is unlikely to ever
                      materialize. Trustee will abandon.



     Major Activities Affecting Case Closing:

                Trustee pursuing offer from Debtor family member for certain assets and evaluating estate value of other non-exempt property

                December 2014-Trustee collected and liquidated all assets and hire accountant to prepare estate tax return and upon filing returns, Trustee will pursue TFR.
                9/19/2014 Trustee filed Motion to sell. Trustee pursuing sale of RE to daughter; Trustee received info from O & G broker on mineral interest to review. February 2014,
                Trustee received offer from relative from debtor on farm property and trustee evaluating offer; Trustee evaluating property values to determine best course to achieve
                value to estate

     Initial Projected Date Of Final Report (TFR):       December 1, 2014                      Current Projected Date Of Final Report (TFR):       December 1, 2014




                   Case 13-11743-t7                       Doc 60            Filed 03/13/15                    Entered 03/13/15 12:50:39       Page10:38
                                                                                                                                 Printed: 01/27/2015 4 of
                                                                                                                                                        AM 8 V.13.21
                                                                                                                                                                          Exhibit B


                                                                                  Form 2                                                                                  Page: 1

                                                 Cash Receipts And Disbursements Record
Case Number:         13-11743                                                                      Trustee:            Clarke C. Coll (510150)
Case Name:           WINKLE, FRED VAN                                                              Bank Name:          Rabobank, N.A.
                                                                                                   Account:            ******3366 - Checking Account
Taxpayer ID #: **-***0682                                                                          Blanket Bond:       $1,000,000.00 (per case limit)
Period Ending: 01/27/15                                                                            Separate Bond: N/A

   1            2                          3                                        4                                              5                    6             7

 Trans.     {Ref #} /                                                                                                          Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                  T-Code              $                    $       Account Balance
10/16/14       {3}        Tammy Sprague                  Per Order 10/15/2014 DOC 44 purchase of              1110-000             12,500.00                          12,500.00
                                                         real property interest
10/31/14                  Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                       10.00    12,490.00
11/28/14                  Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                       16.16    12,473.84
12/01/14      {14}        Tammy L. Sprague               Turnover of CRP payments received                    1221-000              5,518.00                          17,991.84
                                                         post-petition on Farm property before sell
12/31/14                  Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                       27.74    17,964.10
01/09/15      101         Steve W. Johnson, CPA, LLC     Accountant Fees and Costs Per Order                                                                491.71    17,472.39
                                                         1/8/2015 DOC 55
                                                            Fees approved per                    454.50       3410-000                                                17,472.39
                                                            Order 1/8/2015 DOC 55
                                                            Costs/GRT approved per                37.21       3420-000                                                17,472.39
                                                            Order 1/8/2015 DOC 55
01/11/15      102         Coll Bros. Law , LLC           Approved Fees and Cost per Order 1/9//2015                                                      1,882.24     15,590.15
                                                         DOC 56
                                                            Approved Fees                      1,720.00       3110-000                                                15,590.15
                                                            Approved costs and GRT               162.24       3120-000                                                15,590.15

                                                                                  ACCOUNT TOTALS                                   18,018.00             2,427.85    $15,590.15
                                                                                         Less: Bank Transfers                           0.00                  0.00
                                                                                  Subtotal                                         18,018.00             2,427.85
                                                                                         Less: Payments to Debtors                                            0.00
                                                                                  NET Receipts / Disbursements                   $18,018.00             $2,427.85



                                                                                                                                     Net               Net            Account
                                                                                  TOTAL - ALL ACCOUNTS                             Receipts       Disbursements       Balances

                                                                                  Checking # ******3366                            18,018.00             2,427.85     15,590.15

                                                                                                                                 $18,018.00             $2,427.85    $15,590.15




{} Asset reference(s)
                        Case 13-11743-t7               Doc 60         Filed 03/13/15                  Entered 03/13/15 12:50:39       Page 5 of 8
                                                                                                                          Printed: 01/27/2015 10:38 AM V.13.21
                                     TRUSTEE'S PROPOSED DISTRIBUTION                                      Exhibit D

              Case No.: 13-11743
              Case Name: WINKLE, FRED VAN
              Trustee Name: Clarke C. Coll
                                                 Balance on hand:                          $            15,590.15
               Claims of secured creditors will be paid as follows:

 Claim         Claimant                               Claim Allowed Amount Interim Payments              Proposed
 No.                                                Asserted       of Claim          to Date             Payment
   1           First National Bank                 13,860.09          13,860.09                0.00             0.00
                                                 Total to be paid to secured creditors:    $                 0.00
                                                 Remaining balance:                        $            15,590.15

               Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                              Total Requested Interim Payments         Proposed
                                                                                         to Date        Payment
Trustee, Fees - Clarke C. Coll                                         2,551.80                0.00        2,551.80
Trustee, Expenses - Clarke C. Coll                                       318.37                0.00           318.37
                             Total to be paid for chapter 7 administration expenses:       $             2,870.17
                             Remaining balance:                                            $            12,719.98

                Applications for prior chapter fees and administrative expenses have been filed as follows:
 Reason/Applicant                                              Total Requested Interim Payments         Proposed
                                                                                         to Date        Payment
                                                       None
                             Total to be paid for prior chapter administrative expenses:   $                 0.00
                             Remaining balance:                                            $            12,719.98

              In addition to the expenses of administration listed above as may be allowed by the
         Court, priority claims totaling $0.00 must be paid in advance of any dividend to
         general (unsecured) creditors.
               Allowed priority claims are:
 Claim         Claimant                                        Allowed Amount Interim Payments           Proposed
 No                                                                   of Claim          to Date          Payment
                                                       None
                                                 Total to be paid for priority claims:     $                 0.00
                                                 Remaining balance:                        $            12,719.98
               The actual distribution to wage claimants included above, if any, will be the proposed
         payment less applicable withholding taxes (which will be remitted to the appropriate taxing
         authorities).

   UST Form 101-7-TFR (05/1/2011)
           Case 13-11743-t7          Doc 60    Filed 03/13/15         Entered 03/13/15 12:50:39 Page 6 of 8
            Timely claims of general (unsecured) creditors totaling $ 56,997.95 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 22.3 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  2 -2         Richard Hawthorne, Esq.                                19,757.78                 0.00       4,409.26
  3            Yarbro & Associates, P.A.                              27,751.23                 0.00       6,193.12
  4            CANDICA, LLC                                            9,488.94                 0.00       2,117.60
  5            Brian Van Winkle (Withdrawn)                                0.00                 0.00              0.00
                             Total to be paid for timely general unsecured claims:          $          12,719.98
                             Remaining balance:                                             $               0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
                                                       None
                             Total to be paid for tardy general unsecured claims:           $                0.00
                             Remaining balance:                                             $                0.00

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
                                                        None
                                                 Total to be paid for subordinated claims: $                 0.00
                                                 Remaining balance:                        $                 0.00


  UST Form 101-7-TFR (05/1/2011)
          Case 13-11743-t7          Doc 60      Filed 03/13/15      Entered 03/13/15 12:50:39 Page 7 of 8
UST Form 101-7-TFR (05/1/2011)
     Case 13-11743-t7    Doc 60   Filed 03/13/15   Entered 03/13/15 12:50:39 Page 8 of 8
